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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

DUSTI PATTERSON,                                 )
                                                 )
       Plaintiff,                                )   Civil Action No.: 3:17-cv-853
                                                 )
       v.                                        )    Judge: B. Jackson
                                                 )
ALLTRAN FINANCIAL, LP,                           )   Magistrate: R. Bourgeois
                                                 )
       Defendant.                                )

                                NOTICE OF SETTLEMENT

       Plaintiff, Dusti Patterson, (“Plaintiff”), through her attorney, Scott, Vicknair, Hair

& Checki, LLC, informs this Honorable Court that the Parties have reached a settlement in

this case. Plaintiff anticipates the parties filing a joint stipulation of dismissal, with

prejudice, within 60 days.

Dated: March 9, 2018                                 Respectfully submitted,


                                                     /s/ Samuel J. Ford
                                                     Samuel Ford, Esq. T.A. 36081
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                                                     Attorney for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that this day, March 9, 2018, I electronically filed the foregoing with the
Clerk of Court via the Court’s CM/ECF filing system, which will send notice to all counsel of
record in the instant action.
                                        /s/ Samuel J. Ford
